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                     EXHIBIT 4
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      1                       UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA
      2

      3    ***************************************************************



      4    IN RE: OIL SPILL BY THE
           OIL RIG DEEPWATER HORIZON
      5    IN THE GULF OF MEXICO ON
           APRIL 20, 2010
      6                                 CIVIL ACTION NO. 10-MD-2179 "J"
                                        NEW ORLEANS, LOUISIANA
mosAm 7                                 TUESDAY, JULY 30, 2013, AT 8:00 A.M.

      8    THIS RELATES TO ALL CASES

      9    ***************************************************************



     10
                          SWORN STATEMENT OF JONATHAN ANDRY
     11               TAKEN BEFORE THE HONORABLE LOUIS J. FREEH
                                   SPECIAL MASTER
     12

    13     APPEARANCES:

    14
                                        LOUIS J. FREEH, SPECIAL MASTER
    15                                  MATTHEW DOLAN, ESQUIRE

    16
                                        AJUBITA LEFTWICH & SALZER
    17                                  BY: JAMES A. COBB, JR., ESQUIRE
                                        SUITE 1500, ENERGY CENTRE
    18                                  1100 POYDRAS STREET
                                        NEW ORLEANS, LA 70163
    19

    20
           OFFICIAL COURT REPORTER:     CATHY PEPPER, CRR, RMR, CCR
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           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY. TRANSCRIPT
    25     PRODUCED BY COMPUTER.


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08:35AM      1    attempt to reach out and say, what's going on; is there any way
08:35AM      2    we can do something to kind of get all of this going; tell me

08:36AM      3    who I need to talk to; what do I need to do.

08:36AM      4    Q.      Was that the first time you had spoken to him directly

08:36AM      5    about any of these claims?

08:36AM      6    A.      Yes.

08:36AM      7    Q.      And was the nature of your communication a complaint about

08:36AM      8    the delays?

08:36AM      9    A.      Yes.

08:36AM 1 0       Q.      And did you ask for a meeting or an explanation?

08:36AM 1 1       A.      No.

08:36AM     12    Q.      Did you ask that someone look into it and report back to

08 : 36AM   13    you or give you additional information?

08:36AM     14    A.      I know I just asked if he could, you know, tell me who to

08:36AM     15    talk to or something. And he said, you know, he would let me

08:36AM 16        know.

08:36AM 1 7       Q.      Then how many days go past, then you accidentally run into

08:36AM     18    them coming out of the building?

08:36AM     19    A.      Yes. You know, I've seen Mr. Juneau a bunch. And I saw

08:36AM     20    them that day. It was probably about three days later, or four

08:36AM     21    days later.

08:36AM     22    Q.      In other words, it wasn't any plan or arrangement to meet

08:36AM     23    them. You just met them on the street --

08:36AM     24    A.      Correct.

08:36AM     25    Q.   -- as you said?


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08:37AM      1    after Mother's with Mr. Sutton across the street from his

08:38AM      2    building. Do you recall the name of the restaurant?

08:38AM      3    A.    No. If you're on the corner, it's like -- if you were on

08:38AM      4    the corner where that building is, and I don't know the name of

08:381114    5    the building, I think it's the Commerce Building, and you walk

08:38AM      6    directly across the street, it will be right there.

08:38AM      7    Q.    And you said the meeting was approximately 45 minutes?

08:38AM      8    A.    Yes.

08:38AM      9    Q.    And no one else joined you during the meeting?

08:38AM 10        A.    No.

08:38AM 1 1       Q.    And could you tell us what you discussed, as best you

08:38AM     12    recall?

08:38AM     13    A.    Old times, and I tried to address our issue and we kind of

08:38AM     14    talked about our issue and how we were friends and we aren't

08:38AM     15    anymore.

08:38AM     16    Q.   Then did you have a conversation about the pending BP

08:38AM     17    claims?

08:38AM     18    A.   Nothing more than what I would have told anybody, and that

08:38AM     19    is, you know, whatever help you can give me, give me, I need to

08:38AM     20    get my claims done. They are sitting there and they are kind

08:38AM     21    of languishing, and I don't know what's going on, but, you

08:38AM     22    know, if you could help me out, help me out.

08:38AM     23    Q.   What, if anything, did he say?

08:38AM     24    A.   He said that he really didn't -- you know, he wasn't over

08:38AM     25    any claims. Didn't deal with any claims. And he understood my


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08:38AM    1    concern and my complaint because that was happening a lot, but

08:39AM    2    the facility was getting better, and that they were trying to

08:39AM    3    process claims.

08:39AM    4    Q.    Did he agree to get back to you or get you some more

08:39AM    5    information after the meeting?

08:39AM    6    A.    Yes. But I mean, you know, Its one of those things where

08:39AM    7    you say, I'll call you back, and he never did.

08:39AM    8    Q.    Never called you back?

08:39AM    9    A.    Correct.

08:39AM 1 0     Q.    And then you mentioned the subsequent meeting that you had
08:39AM 1 1     with him.

08:39AM   12    A.    Yes.

08:39AM   13    Q.    And approximately when was that again?

08:39AM   14    A.    That was after all of this happened.

08:39AM   15    Q.    And when you say all this, what do you mean?

08 39AM 1 6     A.    Like after my name was in the paper and all that stuff.

08:39AM   17    Actually, no, no; no.

08:39m1   18    Q.    After the stories in the press?

08:39AM   19    A.    Yes.

08:39AM   20    Q.    And could you tell me where that meeting occurred?

08:39AM   21    A.    At my office.

08:39AM   22    Q.   And who initiated it?

08:39AM   23    A.   Tiger.

08:39AM   24    Q.   And how long did you meet together with him?

08:39AM   25    A.   15 minutes, 20 minutes.


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08:44AM     1    going on. I have got my litigation in Andry Law Group, my
08:49AM     2    stuff with Andry Law Firm and other stuff kind of going on.

08:45AM     3               So when Glen and I would meet, it wasn't regularly

08:45AM     4    scheduled partnership meetings. He would just be in town and I

08:95AM     5    would talk to him or I would just talk to him.
08: 95AM    6               There are times that things like the referral fee on

08:45AM     7    Casey Thonn would bubble up. I know that when we got the case,

08:45AM     8    there was a discussion about a referral fee. Christine worked

08:45AM     9    for the facility, but Tiger did not. And Glen had some

08:95AM 1 0      discussions with them about a 50/50 referral split on the fee.

08:45AM    11    Q.    Did Glen relay those conversations to you?

08:45AM    12    A.    Yes. I never had any conversations, because at the time I

08:45AM    13    wasn't talking to Tiger, so I never had any conversation with

08:45AM    14    Tiger at all or Christina at all about the Casey Thonn matter.

08:95AM    15               But when I talked about it with Glen, it was about

08:45AM    16    the propriety of paying a referral feel. And keep in mind, it

08:95AM    17    wasn't, from my perspective, that they weren't entitled to the

08:45AM    18    fee, because when we got the Casey Thonn matter, there was an

08:45AM    19    extensive body of work that Ms. Reitano did shepherding the

08:45AM    20    claim through the Gulf Coast Claims Facility. So as a result

08:46AM    21    of that, I never thought they weren't entitled to the fee, but

08:46AM    22    it was just talked to me or explained to me, I guess, by Lerner

08:96AM    23    during the time that we talked about it that it wasn't proper

08:46AM    24    for them to receive a fee because they worked at the

08:46AM    25    facility -- or she worked at the facility.


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09:10AM     1    A.    Payment of a referral fee to Mr. Sutton, that's correct.

09:10AM     2    Q.    Payment of a referral fee. And would it be fair to

09:10AM     3    characterize that as a disagreement or an argument between the

09:10AM     4    two of you and Mr. Lerner?

09:10AM     5    A.    It was a discussion about how to handle the matter.

09:10AM     6    Q.    Did you object to a fee being paid?

09:10AM     7    A.    Yes.

09:10AM     8    Q.    And did you make that clear to Mr. Lerner?

09:10AM     9    A.    Yes.

09:10AM 10       Q.    And what was the basis of your objection and what did you

09:10AM 11       express to Mr. Lerner as the basis of your objection?

og,lom 12        A.    My understanding from Glen was that Tiger worked at the

09:10AM    13    facility and it was primarily from, when Christina sent us the

o9,lom 14        case, that if she sent us the case, then she can't work on it

09:10AM    15    or get a fee. And so I just presumed that Tiger was in the

09:10AM    16    same position. So if they couldn't receive a fee, I just

09:10AM    17    assumed that they shouldn't receive a fee. Excuse me, I

09:10AM    18    assumed that if they couldn't receive a fee, that we shouldn't

09:11AM    19    pay them one. And so we didn't pay them one.

09:11AM    20    Q.   So your objection -- and correct me if my question assumes

09,11;01   21    the wrong fact, but it sounds to me that your objection was not

09:11AM    22    whether it was a referral fee or something else, it was the

09:11AM    23    fact that it was any payment at all?

09:11Am 24       A.   It was a referral fee. And not any payment at all. In my

09:11AM    25    plaintiff world in New Orleans, according to our custom and


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09:19AM      1    facility, I would say, can you help me out him get the claim

09:19AM      2    done, you know, all my claims are stuck. What do I need to do?

09:19AM      3    Q.    So on that particular claim, do you recall speaking to

09:19AM      4    Mr. Juneau about it at that time?

09:19AM      5    A.    I spoke with Pat about a bunch of claims at that time.

09:19AM 6         Q.    Do you recall talking to him, not complaining, but

09:19AM      7    pointing out to him that this particular claim seemed to be

09:19AM      8    stuck and it was a very important claim to you and the firm?

09:19AM      9    A.    I pointed out to him that that claim was stuck, as was

09:19AM     10    about six other claims.

09 ; I9AM   11    Q.    And --

09:19AM     12    A.    And I didn't single that one out in particular, because

09:19AM     13    that would not have been in any discussion I had because my

09:20AM     14    operation was to get every one of them done.

09:20AM     15    Q.    So is it your testimony you didn't specifically mention

09 : 20AM   16    that claim to him?

09 : 20AM   17    A.    No, it's not my testimony that I didn't specifically

09:20AM     18    mention it one way or the other. I may have, and I probably

09:20AM     19    did. As I sit here now, I don't really remember whether I

09 2 OM     20    singled that one out and said, what about this one, as opposed

09:20AM     21    to all of the other ones.

09 ; 20AM   22    Q.   Did you have a similar conversation with anyone else at

09:20AM     23    that time, March of this year, who worked at the facility?

09:20AM 24        A.   I may have, but I don't remember specific conversations.

09:20AM     25    Q.   Did Mr. Juneau or anyone get back to you after you had


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